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 1                                                                 JUDGE JAMES L. ROBART

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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7
     UNITED STATES OF AMERICA,
 8                                                    No. CR 20-223JLR
                                    Plaintiff,
 9                                                    ORDER GRANTING DEFENDANTS’
            v.                                        MOTION TO CONTINUE TRIAL DATE
10
     TRINIDAD QUIJADA VALENZUELA,
11
                                    Defendant.
12

13          THIS MATTER comes before the court on Defendant Trinidad Quijada Valenzuela’s

14   Motion for a Continuance of the Trial Date. The court has considered the reasons for the

15   motion, the agreement of the United States, and the file herein.

16          The court finds that the defendant needs additional time to meet with counsel,

17   investigate the evidence supporting the charges brought by the government, determine the

18   need for any pretrial motions pertaining to the evidence, and prepare for trial.

19          Based on these findings, the court concludes that the continuance of the trial date

20   sought by the parties serves the ends of justice. Further, the ends of justice served by a

21   continuance of this matter from February 22, 2021 outweighs the best interests of the public

22   and the defendant in a speedy trial pursuant to the Speedy Trial Act, 18 U.S.C. §

23   3161(h)(7)(A). Proceeding to trial absent adequate time for the defense to prepare could
                                                                  LAW OFFICE OF PAULA T. OLSON
     ORDER GRANTING DEFENDANTS’ MOTION TO                             4020 North Vassault Street
     CONTINUE TRIAL DATE – Page 1                                    Tacoma, Washington 98407
                                                                          (253) 777-5716-Tel
                                                                       olsonlaw@nventure.com
             Case 2:20-cr-00223-JLR Document 21 Filed 01/12/21 Page 2 of 2




 1   result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i). Taking into account the

 2   exercise of due diligence, a continuance is necessary to allow the defendants the reasonable

 3   time for effective preparation for their defense. 18 U.S.C. § 3161(h)(7)(B)(iv).

 4          Therefore, it is hereby ORDERED that the Defendant Trinidad Quijada Valenzuela’s

 5   Motion to Continue the Trial Date is GRANTED. The Pretrial Motions Cut Off Date is

 6   continued to August 19, 2021. Responses to motions shall be filed in accordance with Local

 7   Rules W.D. Wash. LCrR 12(b)(2). The Trial Date is continued to September 27, 2021.

 8          It is further ORDERED that the time from the date of this order, until the new trial

 9   date of September 27, 2021, shall be excluded in counting the time within which trial of this

10   case must commence pursuant to 18 U.S.C. § 3161(h)(7).
11          DATED this 12th day of January, 2021.
12

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14
                                                          A
                                                          The Honorable James L. Robart
                                                          U.S District Court Judge
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17
     Presented by:
18
        /S/ Paula T. Olson
19   PAULA T. OLSON, WSBA#11584
     Attorney for Defendant Trinidad Q. Valenzuela
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                                                                 LAW OFFICE OF PAULA T. OLSON
     ORDER GRANTING DEFENDANTS’ MOTION TO                            4020 North Vassault Street
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